           Case 3:19-mj-01246-BGS Document 1 Filed 03/26/19 PageID.1 Page 1 of 16
AO 106 (Rev. 06/09) Application for a Search Warrant



                                      UNITED STATES DISTRICT COUR'_,
                                                                     for the
                                                         Southern District of California

             In the Matter of the Search of                                                                       CLERI< US DiSTF1iC l COURT
                                                                        )                                     SOUTHERf'J 01srn1CT OF CALIFORNIA
         (Briefly describe the property to be searched                  )                                     BY                             DEPUIY
          or identify the person by name and address)                                  Case No.
                                                                        )
   Acer Aspire E5-575 Model Number: N16Q2 Serial
        Number: NXGHGAA001633047C27600
                                                                        )
                                                                        )                                    19MJ1246
                                                                        )

                                             APPLICATION FOR A SEARCH WARRANT
               I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
prJi]JertYt,. to be. searched a]ld give its location):
  ~ee /"'\nacnment A-1 .



located in the     ~~~~~~~~
                           Southern              District of   ~~~~~~~~~~~~
                                                                            California              , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ~evidence of a crime;
                 ~contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
            Code Section                                                       Offense Description
        21 U.S.C. 952 and 960                     Importation of Controlled Substances


         The i;ipplication is based on these facts:
        See Affidavit of HSI Special Agent Khalid Avila-Williams, which is hereby incorporated by reference and made part
        hereof.

           ~ Continued on the attached sheet.
          0 Delayed notice of _ _ days (give exact ending date if more than 30 days:                                        ) is requested
            under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                               '   I   I     vr:/C)/.       '\)
                                                                                   ;"'L~dL-        Applicant's signature

                                                                                         Khalid Avila-Williams, HSI Special Agent
                                                                                                   Printed name and title

Sworn to before me and signed in my presence.


Date:


City and state: San Diego, CA                                                      Hon. Bernard G. Skomal U.S. Magistrate Judge
                                                                                                   Printed name and title
         Case 3:19-mj-01246-BGS Document 1 Filed 03/26/19 PageID.2 Page 2 of 16



                         AFFIDAVIT IN SUPPORT OF SEARCH WARRANT
 1
            I, Khalid Avila-Williams, a Special Agent with the United States Department of
 2
     Homeland Security, Homeland Security Investigations (HSI), being duly sworn, declare and
 3
     state as follows:
 4
                                         INTRODUCTION
 5
 6          1.    I make this affidavit in support of an application for a search warrant for (1) a
 7 Acer Aspire Laptop, bearing serial number NXGHGAA001633047C27600 (Target Device
 8 1), and (2) a Motorola Phone, FPF No. 2019250400071701, Line Item No. 3 (Target Device
 9 2) 1 (collectively, the Target Devices), which were seized from the vehicle of Saul Fernando
10 ALVARADO Zapata, on or about February 9, 2019, pursuant to his arrest for importing
11 cocaine in violation of21 U.S.C. §§ 952 and 960. The Target Devices are further described
12 in Attachments A-1 and A-2 (incorporated herein by reference). The Target Devices are
13 currently in the possession of Homeland Security Investigations located at 880 Front Street,
14 San Diego, California 92101, in the Southern District of California.
15          2.    I seek authority to search the Target Devices for and seize evidence of crimes,
16 specifically, violations of Title 21, United States Code, Sections 952 and 960 (Importation
17 of Controlled Substances), as described in Attachment B (incorporated herein by reference)
18 for the time period from December 1, 2018, to February 10, 2019.
19          3.    Based on the information below, there is probable cause to believe that a search
20 of the Target Devices will produce evidence of the aforementioned crimes, as described in
21 Attachment B.
22          4.    The information contained in this affidavit is based upon my experience and
23 training, and consultation with other federal, state, and local law enforcement agents. The
24 evidence and information contained herein was developed from interviews and my review
25   1
     At the time of his arrest, ALVARADO provided consent to search Target Device 2 and
26 another phone in his possession and provided PIN codes. The United States was unable to
27 obtain a download of Target Device 2 at the border and, as such, seeks a warrant for that
   purpose. ALVARADO declined to consent to a search of Target Device 1 because he
28 claimed that it contains intimate photos. Information obtained from the search of
   ALVARADO' s cellular telephones has not been included herein to support probable cause.
       Case 3:19-mj-01246-BGS Document 1 Filed 03/26/19 PageID.3 Page 3 of 16




 1 of documents and evidence related to this case. Because this affidavit is made for the limited
 2 purpose of obtaining a search warrant for the Target Devices, it does not contain all of the
 3 information known by me or other federal agents regarding this investigation, but only
 4 contains those facts believed to be necessary to establish probable cause. Dates, times and
 5 amounts are approximate.
 6                              EXPERIENCE AND TRAINING
 7        5.     I am a Special Agent with the United States Department of Homeland Security,
 8 Homeland Security Investigations (HSI). I am currently assigned to the HSI San Diego
 9 Office. I have been a full-time, sworn federal agent with HSI since 2018. Prior to my
1O employment with HSI, I was employed by the Florida Division of Alcoholic Beverages and
11 Tobacco as a Special Agent and later promoted to the rank of Lieutenant. In that role, I
12 served as a Criminal Investigator for over 10 years and conducted numerous narcotics, vice,
13 intellectual property, and financial investigations. Additionally, for approximately two
14 years, I was employed as a United States Probation Officer in the Northern District of Texas.
15 During my employment, I conducted numerous interviews with persons on supervised
16 release, provided written and oral status reports to sentencing judges, and provided court
17 testimony.
18        6.     I have completed extensive criminal investigation training at the Federal Law
19 Enforcement Training Center in Glynco, Georgia, including training in conducting narcotics
20 smuggling investigations and training in the methods, devices, and practices common to
21 individuals and organizations who smuggle narcotics and narcotics proceeds. I also have
22 completed training in computers and data through various courses in electronic law and
23 evidence and other training about the investigative uses of data and how it might be found.
24 Additionally, I have completed training at the Federal Law Enforcement Training Center in
25 Charleston, South Carolina.
26        7.     In my role as a Special Agent, I have conducted and participated in numerous
27 investigations of criminal laws, including laws related to narcotics violations. In these
28 investigations, I have conducted searches, seizures, and arrests. Additionally, I have been
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       Case 3:19-mj-01246-BGS Document 1 Filed 03/26/19 PageID.4 Page 4 of 16




 1 cross-designated by the Drug Enforcement Administration (DEA) and empowered to
 2 investigate and make arrests for offenses under Title 21 of the United States Code. Through
 3 my training and experience, I am familiar with narcotics traffickers' methods of operation,
 4 including the distribution, storage, and transportation of narcotics and the collection of
 5 money proceeds of narcotics trafficking and methods of money laundering used to conceal
 6 the nature of the proceeds. I am aware that it is a common practice for drug traffickers to
 7 work in concert with other individuals and to do so by utilizing digital devices such as
 8 cellular telephones, tablets, and computers to maintain communications with co-
 9 conspirators in order to further their criminal activities.       Conspiracies involved in the
1O smuggling and trafficking of drugs generate many types of evidence, including but not
11 limited to, digital evidence such as telephone call logs, email messages referring to the
12 arrangements of travel and payment, and names, photographs, text messaging, and contact
13 information for co-conspirators.
14        8.     Based upon my training and experience as a Special Agent, and consultations
15 with law enforcement officers experienced in narcotics investigations, I am also aware that:
16        a.     Drug traffickers and their co-conspirators often use digital devices like cellular
17               telephones, tablets, and laptop computers to communicate with persons who
18               transport their narcotics and/or drug proceeds;
19        b.     Drug traffickers will use digital devices like cellular telephones, tablets, and
20               laptop computers because they are mobile and they have instant access to
21               telephone calls, text, web, email, and voice messages;
22        c.     Drug traffickers will use digital devices like cellular telephones, tablets, and
23               laptop computers because they are able to actively monitor the progress of their
24               illegal cargo while the conveyance is in transit;
25        d.     Drug traffickers and their accomplices will use digital devices like cellular
26               telephones, tablets, and laptop computers because they can easily arrange
27               and/or determine what time their illegal cargo will arrive at predetermined
28               locations;
                                                3
       Case 3:19-mj-01246-BGS Document 1 Filed 03/26/19 PageID.5 Page 5 of 16




 1        e.     Drug traffickers will use digital devices like cellular telephones, tablets, and
 2               laptop computers to direct drivers to synchronize an exact drop off and/or pick
 3               up time of their illegal cargo;
 4        f.     Drug traffickers will use digital devices like cellular telephones, tablets, and
 5               laptop computers to notify or warn their accomplices of law enforcement
 6               activity to include the presence and posture of marked and unmarked units, as
 7               well as the operational status of checkpoints and border crossings;
 8        g.     Individuals involved in drug trafficking often utilize digital devices like
 9               cellular telephones, tablets, and laptop computers with photograph and video
10               capabilities to take and send photographs and videos of other members of
11               criminal organizations, drugs, criminal proceeds, and assets purchased with
12               criminal proceeds; and
13        h.     The use of digital devices like cellular telephones, tablets, and laptop
14               computers by traffickers tends to generate evidence that is stored on the digital
15               devices, including but not limited to, emails, text messages, photographs, audio
16               files, call logs, address book entries, IP addresses, social network data, and
17               location data.
18                                     PROBABLE CAUSE
19        9.     On or about February 9, 2019, at approximately 10:00 a.m., ALVARADO
20 applied for entry into the United States at the San Ysidro, California, Port of Entry.
21 ALVARADO was the registered owner and driver of a white 2013 Nissan Juke with
22 Mexican License plate APL-381-A. A canine alerted to the undercarriage of the vehicle in
23 pre-pnmary.      ALVARADO gave two negative Customs declarations and claimed
24 ownership of everything in the vehicle. The vehicle was referred to secondary inspection.
25        10.    In secondary inspection, anomalies on the rear passenger floor area of the
26 vehicle were detected using the Z Portal machine, and a density meter received a high
27 reading in the same area. After removing the two front seats from the vehicle, the carpet
28 was pulled back and a non-factory compartment underneath the passenger seat was
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       Case 3:19-mj-01246-BGS Document 1 Filed 03/26/19 PageID.6 Page 6 of 16




 1 discovered. Packages were observed inside through a small aperture in the metal. After the
 2 compartment was opened, a total of six packages were removed weighing approximately
 3 13.32 kilograms (29.36 pounds). Two of the packages were field tested and tested positive
 4 for the properties of cocaine.
 5         11.    ALVARADO was placed under arrest for violation of 21 U.S.C. §§ 952 and
 6 960. The Target Devices were found in his vehicle and seized subsequent to his arrest.
 7         12.    Post-arrest, ALVARADO waived his Miranda rights and agreed to answer
 8 questions.     He stated that he was contacted through Facebook and subsequently hired to
 9 transport currency into the United States. ALVARADO also stated that he communicated
1O with his recruiter through the WhatsApp messaging platform. ALVARADO advised that
11 he met at a shopping plaza in Tijuana, Mexico for an interview. He was scheduled to receive
12 $3,000.00 as payment. ALVARADO also stated that he was instructed to download the
13 mobile application Life 360 for tracking purposes.
14         13.    ALVARADO further stated that, on the date of the offense, he met at the above
15 referenced plaza and dropped off his vehicle to be loaded. ALVARADO claimed that he
16 knew nothing about the secret compartment contained within the vehicle, and also later
17 claimed the vehicle was not his. Instead, he claimed that he was given the vehicle for
18 purposes of the offense in December 2018 or January 2019.
19         14.    ALVARADO also stated that he had photos on Target Device 1, which had
20 been transferred from a phone, that could identify his point of contact. ALVARADO later
21 claimed that the transferred photos were instead on a computer at his residence.
22 ALVARADO also stated that he had purchased Target Device 2 for Wi-Fi purposes.
23         15.    Based upon my experience and investigation in this case, I believe that
24 ALVARADO, as well as other persons yet unknown, were involved in an on-going
25 conspiracy to import, possess, and distribute cocaine into and within the United States from
26 Mexico.       Based on my experience investigating drug traffickers, I also believe that
27 ALVARADO used the Target Devices to coordinate with co-conspirators regarding the
28 trafficking of controlled substances and to further this conspiracy both inside and outside
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        Case 3:19-mj-01246-BGS Document 1 Filed 03/26/19 PageID.7 Page 7 of 16




 1 the United States. I also know that logs of calls made and received, telephone numbers,
 2 contact names, electronic mail (e-mail) addresses, appointment dates, text and web-based
 3 messages, pictures, and other digital information are stored in the memory of digital devices,
 4 like cellular telephones, tablets, and laptops, which may identify other persons involved in
 5 drug trafficking activities.
 6         16.   Based upon my experience and training, consultation with other law
 7 enforcement officers experienced in narcotic trafficking investigations, and all the facts and
 8 opinions set forth in this affidavit, I believe that information relevant to the narcotic
 9 trafficking activities of ALVARADO and co-conspirators, such as telephone numbers,
1O made and received calls, contact names, electronic mail (e-mail) addresses, appointment
11 dates, messages, pictures and other digital information are stored in the memory of the
12 Target Devices described herein.
13         17.   I am aware that drug conspiracies require detailed and intricate planning to
14 successfully evade detection by law enforcement.          In my professional training and
15 experience, this may require planning and coordination in the days and weeks prior to the
16 event. Additionally, co-conspirators are often unaware of the subject's arrest and will
17 continue to attempt to communicate with the subject after the arrest to determine the
18 whereabouts of their valuable cargo. Based on my training and experience, individuals such
19 as ALVARADO will attempt to minimize the amount of time they were involved in their
20 smuggling activities and often times are actually involved for weeks and months longer than
21 they claimed to be involved. Given this, as well as ALV ARADO's statement that he
22 received the vehicle for purposes of his illegal activity in December 2018 or January 2019,
23 I respectfully request permission to search the Target Devices for the time period from
24 December 1, 2018, to February 10, 2019.
25 II
26 II
27 II
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        Case 3:19-mj-01246-BGS Document 1 Filed 03/26/19 PageID.8 Page 8 of 16




 1                                      METHODOLOGY
 2 A.      Target Device 1
 3         18.   With the approval of the Court in signing this warrant, agents executing this
 4 search warrant will employ the following procedures on Target Device 1 and any data
 5 contained therein that is subject to seizure pursuant to this warrant:
 6                                          Forensic Imaging
 7         a.    The executing agents will obtain a forensic image of Target Device 1. A
 8               forensic image is an exact physical copy of the hard drive or other media. A
 9               forensic image captures all the data on the hard drive or other media without
10               the data being viewed and without changing the data.            Absent unusual
11               circumstances, it is essential that a forensic image is obtained prior to
12               conducting any search of the data for information subject to seizure pursuant
13               to this warrant. After verified images have been obtained, Target Device 1
14               will be returned to HSI absent further application to this court.
15                         Identification and Extraction of Relevant Data
16         b.    After obtaining a forensic image, the data will be analyzed to identify and
17               extract data subject to seizure pursuant to this warrant. Analysis of the data
18               following the creation of the forensic image can be a highly technical process
19               requiring specific expertise, equipment, and software. There are thousands of
20               different hardware items and software programs, and different versions of the
21               same programs, that can be commercially purchased, installed, and custom-
22               configured on a user's computer system. Computers are easily customized by
23               their users.   Even apparently identical computers in an office or home
24               environment can be different with respect to configuration, including
25               permissions and access rights, passwords, data storage, and security. It is not
26               unusual for a computer forensic examiner to have to obtain specialized
27               hardware or software, and train with it, in order to view and analyze imaged
28               data.
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     Case 3:19-mj-01246-BGS Document 1 Filed 03/26/19 PageID.9 Page 9 of 16




 1      c.   Analyzing the contents of a computer or other electronic storage device, even
 2           without significant technical challenges, can be very challenging. Searching
 3           by keywords, for example, often yields many thousands of hits, each of which
 4           must be reviewed in its context by the examiner to determine whether the data
 5            is within the scope of the warrant. Merely finding a relevant hit does not end
 6           the review process for several reasons.      The computer may have stored
 7           metadata and other information about a relevant electronic record - e.g., who
 8           created it, when and how it was created or downloaded or copied, when it was
 9            last accessed, when it was last modified, when it was last printed, and when it
10           was deleted. Keyword searches may also fail to discover relevant electronic
11           records, depending on how the records were created, stored, or used. For
12           example, keywords search text, but many common electronic mail databases
13           and spreadsheet applications do not store data as searchable text. Instead, the
14            data is saved in a proprietary non-text format. Documents printed by the
15            computer, even if the document was never saved to the hard drive, are
16           recoverable by forensic programs because the printed document is stored as a
17           graphic image.     Graphic images, unlike text, are not subject to keyword
18            searches. Similarly, faxes sent to the computer are stored as graphic images
19           and not as text. In addition, a particular relevant piece of data does not exist
20           m a vacuum.      To determine who created, modified, copied, downloaded,
21           transferred, communicated about, deleted, or printed the data requires a search
22           of other events that occurred on the computer in the time periods surrounding
23           activity regarding the relevant data. Information about which user had logged
24           in, whether users share passwords, whether the computer was connected to
25           other computers or networks, and whether the user accessed or used other
26           programs or services in the time period surrounding events with the relevant
27           data can help determine who was sitting at the keyboard.
28
                                            8
     Case 3:19-mj-01246-BGS Document 1 Filed 03/26/19 PageID.10 Page 10 of 16




 1       d.   It is often difficult or impossible to determine the identity of the person using
 2            the computer when incriminating data has been created, modified, accessed,
 3             deleted, printed, copied, uploaded, or downloaded solely by reviewing the
 4             incriminating data. Computers generate substantial information about data and
 5             about users that generally is not visible to users. Computer-generated data,
 6             including registry information, computer logs, user profiles and passwords,
 7            web-browsing history, cookies and application and operating system metadata,
 8             often provides evidence of who was using the computer at a relevant time. In
 9             addition, evidence such as electronic mail, chat sessions, photographs and
10            videos, calendars and address books stored on the computer may identify the
11            user at a particular, relevant time. The manner in which the user has structured
12            and named files, run or accessed particular applications, and created or
13             accessed other, non-incriminating files or documents, may serve to identify a
14            particular user. For example, if an incriminating document is found on the
15            computer but attribution is an issue, other documents or files created around
16            that same time may provide circumstantial evidence of the identity of the user
17            that created the incriminating document.
18       e.   Analyzing data has become increasingly time-consuming as the volume of data
19             stored on a typical computer system and available storage devices has become
20            mind-boggling. For example, a single megabyte of storage space is roughly
21            equivalent to 500 double-spaced pages of text. A single gigabyte of storage
22            space, or 1,000 megabytes, is roughly equivalent to 500,000 double-spaced
23            pages of text. Computer hard drives are now being sold for personal computers
24            capable of storing up to 2 terabytes (2,000 gigabytes) of data. And, this data
25            may be stored in a variety of formats or encrypted (several new commercially
26            available operating systems provide for automatic encryption of data upon
27            shutdown of the computer). The sheer volume of data also has extended the
28            time that it takes to analyze data. Running keyword searches takes longer and
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      Case 3:19-mj-01246-BGS Document 1 Filed 03/26/19 PageID.11 Page 11 of 16




 1               results in more hits that must be individually examined for relevance.     And,
 2               once reviewed, relevant data leads to new keywords and new avenues for
 3               identifying data subject to seizure pursuant to the warrant.
 4         f.    Based on the foregoing, identifying and extracting data subject to seizure
 5               pursuant to this warrant may require a range of data analysis techniques,
 6               including hashing tools to identify data subject to seizure pursuant to this
 7               warrant, and to exclude certain data from analysis, such as known operating
 8               system and application files.      The identification and extraction process,
 9               accordingly, may take weeks or months.          The personnel conducting the
10               identification and extraction of data will complete the analysis within one-
11               hundred twenty (120) days of this warrant, absent further application to this
12               court.
13         g.    All forensic analysis of the imaged data will employ search protocols directed
14               exclusively to the identification and extraction of data within the scope of this
15               warrant.
16                                Genuine Risks of Destruction
17         19.   Based upon my experience and training, and the experience and training of
18 other agents with whom I have communicated, electronically stored data can be
19 permanently deleted or modified by users possessing basic computer skills.
20                           Prior Attempts to Obtain Information
21         20.   The United States has not attempted to obtain this information by other means.
22 B.      Target Device 2
23         21.   It is not possible to determine, merely by knowing the cellular/mobile
24 telephone's make, model, and serial number, the nature and types of services to which the
25 device is subscribed and the nature of the data stored on the device. Cellular/mobile devices
26 today can be simple cellular telephones and text message devices, can include cameras, can
2 7 serve as personal digital assistants and have functions such as calendars and full address
28 books and can be mini-computers allowing for electronic mail services, web services and
                                               10
      Case 3:19-mj-01246-BGS Document 1 Filed 03/26/19 PageID.12 Page 12 of 16




 1 rudimentary word processing. An increasing number of cellular/mobile service providers
 2 now allow for their subscribers to access their device over the internet and remotely destroy
 3 all of the data contained on the device. For that reason, the device may only be powered in
 4 a secure environment or, if possible, started in "flight mode" which disables access to the
 5 network. Unlike typical computers, many cellular/mobile telephones do not have hard
 6 drives or hard drive equivalents and store information in volatile memory within the device
 7 or in memory cards inserted into the device. Current technology provides some solutions
 8 for acquiring some of the data stored in some cellular/mobile telephone models using
 9 forensic hardware and software. Even if some of the stored information on the device may
1O be acquired forensically, not all of the data subject to seizure may be so acquired. For
11 devices that are not subject to forensic data acquisition or that have potentially relevant data
12 stored that is not subject to such acquisition, the examiner must inspect the device manually
13 and record the process and the results using digital photography. This process is time and
14 labor intensive and may take weeks or longer.
15         22.   Following the issuance of this warrant, I will collect Target Device 2 and
16 subject it to analysis. All forensic analysis of the data contained within the telephone and
17 its memory card will employ search protocols directed exclusively to the identification and
18 extraction of data within the scope of this warrant.
19         23.   Based on the foregoing, identifying and extracting data subject to seizure
20 pursuant to this warrant may require a range of data analysis techniques, including manual
21 review, and, consequently, may take weeks or months. The personnel conducting the
22 identification and extraction of data will complete the analysis within one-hundred twenty
23 (120) days, absent further application to this court.
24                                        CONCLUSION
25         24.   Based on all of the facts arid circumstances described above, I believe that
26 probable cause exists to conclude that ALVARADO used the Target Devices to facilitate
27 the offense of importing cocaine. The Target Devices were likely used to facilitate the
28 offense by transmitting and storing data, specifically that described in Attachment B, which
                                                11
      Case 3:19-mj-01246-BGS Document 1 Filed 03/26/19 PageID.13 Page 13 of 16




 1 constitutes evidence of violations of21 U.S.C. §§ 952 and 960. I also believe that probable
 2 cause exists to believe that evidence of illegal activity committed by ALVARADO
 3 continues to exist on the Target Devices as described in Attachments A-1 and A-2.
 4 Therefore, I respectfully request that the Court issue this warrant.

 5         I swear the foregoing is true and correct to the best of my knowledge and belief.
 6
 7
                                           Khalid Avila-Williams, Special Agent
 8                                         Homeland Security Investigations
 9
10
11
     Sworn to and subscribed before me this   1. .r   day of March, 2019.
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                                          ~~ARDG.
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16
                                                                            SKOMAL
17                                         United States Magistrate Judge
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 Case 3:19-mj-01246-BGS Document 1 Filed 03/26/19 PageID.14 Page 14 of 16




                              ATTACHMENT A-1

                        PROPERTY TO BE SEARCHED

The property to be search in connection with an investigation of violations of Title
21, United States Code, Sections 952 and 960 is described below:

            Acer Aspire E5-575
            Model Number: NI 6Q2
            Serial Number: NXGHGAA001633047C27600
            (Target Device 1)

Target Device 1 is currently in the possession of:

Homeland Security Investigations
880 Front Street
San Diego, California 92101
 Case 3:19-mj-01246-BGS Document 1 Filed 03/26/19 PageID.15 Page 15 of 16




                                 ATTACHMENT B

                               ITEMS TO BE SEIZED

      Authorization to search the Target Devices described in Attachments A-1 to
A-2 includes the search of disks, memory cards, deleted data, remnant data, slack
space, and temporary or permanent files contained on or in the electronic devices.
The seizure and search of the Target Devices shall follow the search methodology
described in the attached affidavit submitted in support of the warrant.

       The evidence to be seized from the Target Devices will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from
various third party applications, photographs, audio files, videos, and location data,
for the period of December 1, 2018, up to and including February 10, 2019:

      a.     tending to indicate efforts to smuggle currency or controlled substances
             into the United States from Mexico or transport currency or controlled
             substances within the United States;

      b.     tending to identify accounts, other facilities, storage devices, or services
             - such as email addresses, IP addresses, and phone numbers - that may
             contain electronic evidence tending to indicate efforts to smuggle
             currency or controlled substances into the United States from Mexico
             or transport currency or controlled substances within the United States;

      c.     tending to identify co-conspirators, criminal associates, or others
             involved in efforts to smuggle currency or controlled substances into
             the United States from Mexico or transport currency or controlled
             substances within the United States;

      d.     tending to identify travel to or presence at locations involved in the
             smuggling of currency or controlled substances into the United States
             from Mexico or transporting currency or controlled substances within
             the United States, such as drop off and pick up locations, stash houses,
             load houses, or delivery points;
 Case 3:19-mj-01246-BGS Document 1 Filed 03/26/19 PageID.16 Page 16 of 16




      e.    tending to indicate payment for the smuggling of currency or controlled
            substances into the United States or the transportation of currency or
            controlled substances within the United States;

      f.    tending to identify the user of, or persons with control over or access
            to, the Target Devices; and/or

      g.    tending to place in context, identify the creator or recipient of, or
            establish the time of creation or receipt of communications, records, or
            data involved in the activities described above;

which are evidence of violations of Title 21, United States Code, Section 952 and
960.
